798 F.2d 469
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Dale HACKETT, Plaintiff-Appellant,MICHIGAN CORRECTIONS ORGANIZATION, Gerald Fryt, MichaelHuey, David Bokanowski, Jeffrey Schoendorf, Robert Squires,David Arnold, Charles Hagle, William Schnarrs, BarryMintzes, Perry Johnson, Defendants-Appellees.
    No. 86-1241.
    United States Court of Appeals, Sixth Circuit.
    June 10, 1986.
    
      Before JONES, CONTIE and MILBURN, Circuit Judges.
    
    ORDER
    
      1
      This Court entered an order on April 2, 1986, directing appellant to show cause why his appeal should not be dismissed for lack of jurisdiction.  Appellant has failed to respond.
    
    
      2
      It appears from the file that the final order was entered October 21, 1985.  The notice of appeal filed on March 10, 1986, was 110 days late.  Rules 4(a) and 26(a), Federal Rules of Appellate Procedure.
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Rule 4(a), Federal Rules of Appellate Procedure, is a mandatory and jurisdictional prerequisite which this Court can neither waive nor extend.   Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016 (6th Cir. 1983).  Rule 26(b), Federal Rules of Appellate Procedure, specifically provides that this Court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      Accordingly, it iS ORDERED that the appeal be and it hereby is dismissed for lack of jurisdiction.  Rule 9(d)1), Rules of the Sixth Circuit.
    
    